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          EXHIBIT H
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(12) United States Patent                                                                                                                         (10) Patent No.:     US 6,999,925 B2
       Fischer et al.                                                                                                                             (45) Date of Patent:     Feb. 14, 2006
(54) METHOD AND APPARATUS FOR PHONETIC                                                                                                               6,173,076   B1       1/2001   Shinoda ......................   382/226
        CONTEXT ADAPTATION FOR IMPROVED                                                                                                              6,324,510   B1*     11/2001   Waibel et al. ....         ...   704/256
        SPEECH RECOGNITION                                                                                                                           6,334,102   B1*     12/2001   Lewis et al. ......        ...   704/255
                                                                                                                                                     6,571.208   B1*      5/2003   Kuhn et al. .......        ...   704/250
(75) Inventors: Volker Fischer, Leimen (DE);                                                                                                         6,711,541   B1*      3/2004   Kuhn et al. .......        ...   704/242
                     Siegfried Kunzmann, Heidelberg (DE);                                                                                            6,718,305   B1 *     4/2004   Hab-Umbach ..............        704/245
                     Eric-W. Janke, Winchester (GB); A.                                                                                                    FOREIGN PATENT DOCUMENTS
                     Jon Tyrrell, Chandlers Rord Eastleigh                                                                                WO               WO99/54869               10/1999
                     (GB)
                                                                                                                                                                  OTHER PUBLICATIONS
(73) ASSignee: International Business Machines
                     Corporation, Armonk, NY (US)                                                                                         Rajput et al., “Adapting Phonetic Decision Trees Between
                                                                                                                                          Languages for Continuous Speech Recognition”, In ICSLP
(*) Notice:          Subject to any disclaimer, the term of this                                                                          2000, Oct. 16-20, 2000, vol. 3, pp. 850-852.*
                     patent is extended or adjusted under 35                                                                              Schultz et al., “Language Portability in Acoustic Modeling”,
                     U.S.C. 154(b) by 698 days.                                                                                           Proceedings of the Workshop on Multilingual Speech Com
                                                                                                                                          munication (MSC-2000), Kyoto, Japan, Oct. 2000, pp. 59
(21) Appl. No.: 10/007,990                                                                                                                64.
                                                                                                                                          Schultz et al., “Language Adaptive LVCSR through
(22) Filed:     Nov. 13, 2001                                                                                                             Polyphone Decision Tree Specialization”, Workshop on
                                                                                                                                          Multi-lingual Iteroperability in Speech Technology (MIST
(65)              Prior Publication                                      Data                                                             1999), Leusden, The Netherlands, Sep. 1999, pp. 85-90.*
        US 2002/0O87314 A1                      Jul. 4, 2002                                                                                                      (Continued)
(30)          Foreign Application Priority Data                                                                                           Primary Examiner W. R. Young
                                                                                                                                          ASSistant Examiner-Brian Albertalli
  Nov. 14, 2000 (EP)           - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -     OO124795


                                                                                                                                          (74) Attorney, Agent, or Firm-Akerman Senterfitt
(51) Int. CI.                                                                                                                             (57)                            ABSTRACT
      GIOL I5/06          (2006.01)
      GIOL 15/08          (2006.01)                                                                                                       The present invention provides a computerized method and
        GIOL I5/27              (2006.01)
        GIOL 15/18              (2006.01)                                                                                                 apparatus for automatically generating from a first Speech
(52) U.S. Cl. ...................... 704/243; 704/255; 704/257;                                                                           recognizer a Second Speech recognizer which can be adapted
                                                         704/236                                                                          to a Specific domain. The first Speech recognizer can include
                                                                                                                                          a first acoustic model with a first decision network and
(58)    Field of Classification Search ................ 704/244,
                                                                                                                                          corresponding first phonetic contexts. The first acoustic
                                                                                        704/257, 10, 8                                    model can be used as a starting point for the adaptation
        See application file for complete Search history.
                                                                                                                                          process. A Second acoustic model with a Second decision
(56)                    References Cited                                                                                                  network and corresponding Second phonetic contexts for the
                                                                                                                                          Second Speech recognizer can be generated by re-estimating
                 U.S. PATENT DOCUMENTS                                                                                                    the first decision network and the corresponding first pho
       5,794,192 A   8/1998 Zhao .......................... 704/244                                                                       netic contexts based on domain-specific training data.
       5,799.277 A * 8/1998 Takami ....................... 704/256
       6,014,624 A   1/2000 Raman ....................... 704/243                                                                                                29 Claims, 1 Drawing Sheet
                                                                                                       speaker independent, general purpose
                                                                                                            SPEECHRECOGNIZER(1)


                                                                                                       (UN}sUPERWISED COLLECTION OF APPLICATION
                                                                                                                   specific training speech (2)


                                                                                                            phonetic context extraction
                                                                                                                                              (31)

                                                                                                 context classification of application specific
                                                                                                               training speech
                                                                                                                                             (32)


                                                                                                domain dependent phonetic context detection
                                                                                                                                               (4)

                                                                                                     computation andlor adaptation of domain
                                                                                                            specific MMparameters




                                                                                                        low resource, application specific
                                                                                                             speech recognizer (6)
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Schultz et al., “Polyphone Decision Tree Specialization for       1997).
Language Adaptation”, ICASSP-2000, Istanbul, Turkey,              R. Singh, et al., Domain Adduced State Tying For Cross
Jun. 2000.                                                        Domain Acoustic Modelling, Proc. of the 6th Europ. Conf.
Fritsch, J., et al., “Effective Structural Adaptation of LVCSR    on Speech Communication and Technology, Budapest
Systems to Unseen Domains Using Hierarchical Con                  (1999).
nectionist Acoustic Models,” ICSLP 98, P. 754, (Oct. 1998).
Fritsch, J., “ACID/HNN: A Framework for Hierarchical
Connectionist Acoustic Modeling.” Proc. of IEEE ASRU              * cited by examiner
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         computation and/or adaptation of domain
                specific HMM parameters
                                                   (5)
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   METHOD AND APPARATUS FOR PHONETIC                                    eters or—to a lesser extent-Select a domain Specific Subset
    CONTEXT ADAPTATION FOR IMPROVED                                     from the phonetic context inventory of the general recog
          SPEECH RECOGNITION                                            nizer.
           CROSS-REFERENCE TO RELATED                                      Facing both the industry's growing interest in Speech
                  APPLICATIONS                                          recognizers for Specific domains including Specialized appli
                                                                        cation tasks, language dialects, telephony Services, or the
   This application claims the benefit of European Applica              like, and the important role of Speech as an input medium in
tion No. 00124795.6, filed Nov. 14, 2000 at the European                pervasive computing, there is a definite need for improved
Patent Office.                                                          adaptation technologies for generating new speech-recog
                                                                        nizers. The industry is Searching for technologies Supporting
          BACKGROUND OF THE INVENTION                                   the rapid development of new data files for speaker (in-)
  1.1 Technical Field
                                                                        dependent, Specialized speech recognizers having improved
   The present invention relates to speech recognition SyS         15
                                                                        initial recognition accuracy, and which require reduced
                                                                        customization efforts whether for individual end users or
tems, and more particularly, to a computerized method and               industrial Software vendors.
apparatus for automatically generating from a first speech
recognizer a Second Speech recognizer which can be adapted
to a specific domain.                                                               SUMMARY OF THE INVENTION
   1.2 Description of the Related Art
   To achieve necessary acoustic resolution for different                  One object of the invention disclosed herein is to provide
Speakers, domains, or other circumstances, today's general              for fast and easy customization of Speech recognizers to a
purpose large Vocabulary continuous speech recognizers                  given domain. It is a further objective to provide a technol
have to be adapted to these different situations. To do so, the         ogy for generating Specialized Speech recognizers requiring
Speech recognizer must determine a huge number of differ           25   reduced computation resources, for instance in terms of
ent parameters, each of which can control the behavior of the           computing time and memory footprints. The objectives of
speech recognizer. For instance, Hidden Markov Model                    the invention are solved by the independent claims. Further
(HMM) based speech recognizers usually employ several                   advantageous arrangements and embodiments of the inven
thousands of HMM states and several tens of thousands of
multidimensional elementary probability density functions               tion are Set forth in the respective dependent claims.
(PDFS) to capture the many variations of naturally spoken                  The present invention relates to a computerized method
human speech. Therefore, the training of a highly accurate              and apparatus for automatically generating from a first
Speech recognizer requires the reliable estimation of Several           Speech recognizer a Second Speech recognizer which can be
millions of parameters. This is not only a time-consuming               adapted to a specific domain. The first speech recognizer
process, but also requires a Substantial amount of training        35   includes a first acoustic model with a first decision network
data.                                                                   and corresponding first phonetic contexts. The present
   It is well known that the recognition accuracy of a speech           invention Suggests using the first acoustic model as a starting
recognizer decreases Significantly if the phonetic contexts             point for the adaptation process. A Second acoustic model
and-in consequence of the changing phonetic                             with a Second decision network and corresponding Second
contexts-pronunciations observed in the training data do           40   phonetic contexts for the Second speech recognizer can be
not properly match those of the intended application. This is           generated by re-estimating the first decision network and the
especially true when dealing with dialects or non-native                corresponding first phonetic contexts based on domain
Speakers, but also can be observed when Switching to other              Specific training data.
different domains, for example within the same language or                 Advantageously, the decision network growing procedure
to other dialects. Commercially available Speech recognition       45
products try to Solve this problem by requiring each indi               preserves the phonetic context information of the first
vidual end user to enroll in the System. Accordingly, the               Speech recognizer which was used as a starting point. In
Speech recognizer can perform a speaker-dependent re                    contrast to State of the art approaches, the present invention
estimation of acoustic model parameters.                                Simultaneously allows for the creation of new phonetic
   Large Vocabulary continuous Speech recognizers capture          50   contexts that need not be present in the original training
the many variations of Speech Sounds by modelling context               material. Thus, rather than create a domain specific inven
dependent Sub-word units, Such as phones or triphones, as               tory from Scratch according to the State of the art, which
elementary HMMs. Statistical parameters of Such models                  would require the collection of a huge amount of domain
are usually estimated from several hundred hours of labelled            Specific training data, according to the present invention, the
training data. While this allows a high recognition accuracy       55   inventory of the general recognizer can be adapted to a new
if the training data Sufficiently represents the task domain, it        domain based on a Small amount of adaptation data.
can be observed that recognition accuracy significantly
decreases if phonetic contexts or acoustic model parameters                      BRIEF DESCRIPTION OF THE DRAWINGS
are poorly estimated due to Some mismatch between the
training data and the intended application.                        60
                                                                          There are shown in the drawings, embodiments which are
   Since the collection of a large amount of training data and          presently preferred, it being understood, however, that the
the Subsequent training of a speech recognizer is both
expensive and time consuming, the adaptation of a (general              invention is not So limited to the precise arrangements and
purpose) speech recognizer to a specific domain is a prom               instrumentalities shown.
ising method to reduce development costs and time to               65      FIG. 1 is a flow diagram illustrating an exemplary Struc
market. Conventional adaptation methods, however, either                ture for generating a speech recognizer which is tailored to
Simply provide a modification of the acoustic model param               a specific domain.
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           DETAILED DESCRIPTION OF THE
                   INVENTION
                                                                        p(x|Si) = X. (coi N(xpti, Tii))                           (eq. 4)
   In the drawings and Specification there is Set forth a                jeM;
preferred embodiment of the invention, and although spe
cific terms are used, the description thus given uses termi
nology in a generic and descriptive Sense only and not for
purposes of limitation.
   The present invention can be realized in hardware, Soft
ware, or a combination of hardware and Software. Any kind 10 where     M is the Set of Gaussians associated with State St.
                                                                Furthermore,  X denotes the observed feature vector, co, is the
of computer System-or other apparatus adapted for carry j-th mixture component            weight for the i-th output distribu
ing out the methods described herein-is Suited. A typical tion, and u, and T are the mean and covariance matrix of
combination of hardware and Software can be a general the j-th Gaussian in State S.
purpose computer System with a computer program that,             Large Vocabulary continuous speech recognizers employ
when being loaded and executed, controls the computer 15 acoustic Sub-word units, Such as phones or triphones, to
System Such that it carries out the methods described herein. ensure the reliable estimation of a large number of param
The present invention also can be embedded in a computer eters and to allow a dynamic incorporation of new words
program product, which comprises all the features enabling into the recognizer's vocabulary by the concatenation of
the implementation of the methods described herein, and sub-word models. Since it is well known that speech sounds
which—when loaded in a computer System-is able to carry vary         Significantly with respect to different acoustic contexts,
out these methods.
                                                                HMMs
   Computer program in the present context means any dent acoustic      (or HMM states) usually represent context depen
                                                                                Sub-word units. Moreover, since both the
expression, in any language, code or notation, of a set of training vocabulary       (and thus the number and frequency of
instructions intended to cause a System having an informa phonetic contexts) and the acoustic environment (e.g. back
tion processing capability to perform a particular function ground noise level, transmission channel characteristics, and
                                                             25
either directly or after either or both of the following: a)            Speaker population) will differ significantly in each target
conversion to another language, code or notation; b) repro              application, it is the task of the further training procedure to
duction in a different material form.
                                                                        provide a data driven identification of relevant contexts from
   The present invention is illustrated within the context of           the labeled training data.
the “ViaVoice” Speech recognition System which is manu                     In a bootstrap procedure for the training of a speech
factured by International Business Machines Corporation, of             recognizer, according to the State of the art, a speaker
Armonk, N.Y. Of course, the present invention can be used               independent, general purpose Speech recognizer is used for
by any other type of Speech recognition System. Moreover,               the computation of an initial alignment between Spoken
although the present Specification references speech recog              words and the Speech Signal. In this process, each frame's
                                                                   35
nizers which incorporate Hidden Markov Model (HMM)                      feature vector is phonetically labeled and Stored together
technology, the present invention is not limited only to Such           with its phonetic context, which is defined by a fixed but
Speech recognizers. Accordingly, the invention can be used              arbitrary number of left and/or right neighboring phones.
with Speech recognizers utilizing other approaches and                  For example, the consideration of the left and right neighbor
technologies as well.                                                   of a phone Po results in the widely used (croSSword) triphone
                                                                   40
4.1 Introduction                                                        context (P, Po, P).
   Conventional large Vocabulary continuous speech recog                   Subsequently, the identification of relevant acoustic con
nizers employ HMMs to compute a word sequence w with                    texts (i.e. phonetic contexts that produce significantly dif
maximum a posteriori probability from a Speech Signal f. An             ferent acoustic feature vectors) is achieved through the
HMM is a stochastic automaton A=(IIA,B) that operates on           45   construction of a binary decision network by means of an
a finite set of States S={S, . . . , S} and allows for the              iterative split-and-merge procedure. The outcome of this
observation of an output each time t, t-1, 2, ..., T, a State           bootstrap procedure is a domain independent general Speech
is occupied. The initial State vector                                   recognizer. For that purpose Some sets Q.-P, ..., P} of
                                                                        language and/or domain Specific phone questions are asked
      II=II,=P(S(1)=S), 1s is N,                         (eq. 1)        about the phoneSat positions K. . . . , K-1, K, K in the
                                                                   50
                                                                        phonetic context String. These questions are of the form: "Is
gives the probabilities that the HMM is in states at time t=1,          the phone in position K, in the set Q,'?", and split a decision
and the transition matrix
                                                                        network node n into two Successors, one node n, (L for left
     A=(a)=P(S(t+1)=s, s(t)=S), 1sijsN,                  (eq. 2)        Side) that holds all feature vectors that give rise to a positive
                                                                   55   answer to a question, and another node n (R for right side)
holds the probabilities of a first order time invariant process         that holds the Set of feature vectors that cause a negative
that describes the transitions from states, to S. The obser             answer. At each node of the network, the best question is
Vations are continuous valued feature vectorS X eR derived              identified by the evaluation of a probabilistic function that
from the incoming Speech Signal f, and the output probabili             measures the likelihood P(n) and P(n) of the sets of feature
ties are defined by a set of probability density functions         60   vectors that result from a tentative split.
(PDFS)                                                                    In order to obtain a number of terminal nodes (or leaves)
      B=b=p(x|S(t)=S), 1 sisN.                           (eq. 3)        that allow a reliable parameter estimation, the Split-and
                                                                        merge procedure is controlled by a problem Specific thresh
For any given HMM state s, the unknown distribution                     old 0, i.e. a node n is split in two successors n, and n, if
p(xs) of the feature vectors is approximated by a mixture          65   and only if the gain in likelihood from this split is larger than
                                                                        0:
of usually gaussian-elementary probability density func
tions (pdfs)
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                              S                                                                      6
A similar criterion is applied to merge nodes that represent          4.2 Solution
only a Small number of feature vectors, and other problem                If, in the following, the Specification refers to a speech
Specific thresholds, e.g. the minimum number of feature               recognizer adapted to a certain domain, the term “domain'
vectors associated with a node, are used to control the               is to be understood as a generic term if not otherwise
network size as well.                                                 Specified. A domain might refer to a certain language, a
   The process Stops if a predefined number of leaves is              multitude of languages, a dialect or a set of dialects, a certain
created. All phonetic contexts associated with a leaf cannot          task area or Set of task areas for which a Speech recognizer
be distinguished by the Sequence of phone questions that has          might be exploited. For example, a domain can relate to
been asked during the construction of the network, and thus           certain areas within the Science of medicine, the Specific task
                                                                      of recognizing numbers only, and the like.
are members of the same equivalence class. Therefore, the                The invention disclosed herein can utilize the already
corresponding feature vectors are considered to be homo               existing phonetic context inventory of a (general purpose)
geneous and are associated with a context dependent, Single           Speech recognizer and Some Small amount of domain Spe
state, continuous density HMM, whose output probability is            cific adaptation data for both the emphasis of dominant
described by a gaussian mixture model (eq. 4). Initial           15   contexts and the creation of new phonetic contexts that are
estimates for the mixture components are obtained by clus             relevant for a given domain. This is achieved by using the
tering the feature vectors at each terminal node, and finally         Speech recognizer's decision network and its corresponding
the forward-backward algorithm known in the state of the art          phonetic contexts as a starting point and by re-estimating the
is used to refine the mixture component parameters. It is             decision network and phonetic contexts based on domain
important to note, that according to this State of the art            Specific training data.
procedure the decision network initially includes a single              AS the extensive decision network and the rich acoustic
node and a single equivalence class only (refer to an                 contexts of the existing Speech recognizer are used as a
important deviation with respect to this feature according to         Starting point, the architecture of the proposed invention
the present invention discussed below), which then itera              achieves minimization of both the amount of Speech data
tively is refined into its final form (or in other words the     25   needed for the training of a special domain Speech recog
bootstrapping proceSS actually starts “without a pre-exist            nizer, as well as the individual end users customization
ing decision network).                                                efforts. By upfront generation and adaptation of phonetic
                                                                      contexts towards a particular domain, the invention facili
   In the literature, the customization of a general Speech           tates the rapid development of data files for Speech recog
recognizer to a particular domain is known as croSS domain            nizers with improved recognition accuracy for Special appli
modeling. The state of the art in this field is described for         cations.
instance by R. Singh and B. Raj and R. M. Stern, “Domain                 The proposed teaching is based upon an interpretation of
adduced State tying for cross-domain acoustic modelling,              the training procedure of a speech recognizer as a two stage
Proc. of the 6th Europ. Conf. on Speech Communication and             process that comprises 1.) the determination of relevant
Technology, Budapest (1999), and roughly can be divided          35   acoustic contexts and 2.) the estimation of acoustic model
into two different categories:                                        parameters. Adaptation techniques known the within the
   1. extrinsic modeling: Here, a recognizer is trained using         State of the art, for example maximum a posteriori adapta
additional data from a (third) domain with phonetic contexts          tion (MAP) or maximum likelihood linear regression
that are close to the Special domain under consideration; and,        (MLLR), are directed only to the Speaker dependent re
   2. intrinsic modeling: This approach requires a general
                                                                 40   estimation of the acoustic model parameters (co, u. T.) to
                                                                      achieve an improved recognition accuracy; that is, these
purpose recognizer with a rich Set of context dependent               approaches exclusively target the adaptation of the HMM
Sub-word models. The adaptation data is used to identify              parameters based on training data. Importantly, these
those models that are relevant for a Specific domain, which           approaches leave the phonetic contexts unchanged; that is,
is usually achieved by employing a maximum likelihood            45   the decision network and the corresponding phonetic con
criterion.                                                            texts are not modified by these technologies. In commer
  While in extrinsic modeling one can hope that a better              cially available speech recognizers, these methods are uSu
coverage of the application domain results in an improved             ally applied after gathering Some training data from an
recognition accuracy, this approach is still time consuming           individual end user.
and expensive, because it still requires the collection of a     50      In a previous teaching of V. Fischer, Y. Gao, S. Kun
Substantial amount of (third domain) training data. On the            Zmann, M. A. Picheny, “Speech Recognizer for Specific
other hand, intrinsic modeling utilizes the fact that only a          Domains or Dialects”, PCT patent application EP 99/02673,
Small amount of adaptation data is needed to Verify the               it has been shown that upfront adaptation of a general
importance of a certain phonetic context. However, in con             purpose base acoustic model using a limited amount of
trast to the present invention, intrinsic croSS domain mod       55   domain or dialect dependent training data yields a better
eling allows only a fall back to coarser phonetic contexts (as        initial recognition accuracy for a broad variety of end users.
this approach consists of a Selection of a Subset of the              Moreover it has been demonstrated by V. Fischer, S. Kun
decision network and its phonetic context only), and is not           Zmann, C. Waast-Ricard, “Method and System for Gener
able to detect any new phonetic context that is relevant to a         ating Squeezed Acoustic Models for Specialized Speech
new domain but not present in the general recognizer's           60   Recognizer”, European patent application EP 99.116684.4,
inventory. Moreover, the approach is Successful only if the           that the acoustic model Size can be reduced significantly
particular domain to be addressed by intrinsic modelling is           without a large degradation in recognition accuracy based on
already covered (at least to a certain extent) by the acoustic        a Small amount of domain specific adaptation data by
model of the general Speech recognizer, or in other words,            selecting a subset of probability density functions (PDFS)
the particular new domain has to be an extract (Subset) of the   65   being distinctive for the domain.
domain to which the general Speech recognizer is already                Orthogonally to these previous approaches, the present
adapted.                                                              invention focuses on the re-estimation of phonetic contexts,
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or-in other words-the adaptation of the recognizer's                   and/or the amount of adaptation data, and thus differ from
Sub-word inventory to a special domain. Whereas in any                 the thresholds used during the training of the baseline
Speaker adaptation algorithm, as well as in the above men              recognizer. Similar to the method described in the introduc
tioned documents of V. Fischer et al., the phonetic contexts           tory Section 4.1, the procedure uses a maximum likelihood
once estimated by the training procedure are fixed, the                criterion to evaluate all possible splits of a node and Stops if
present invention utilizes a Small amount of upfront training          the thresholds do not allow a further creation of domain
data for the domain Specific insertion, deletion, or adaptation        dependent nodes. This way one is able to derive a new,
of phones in their respective context. Thus re-estimation of           recalculated Set of equivalence classes that can be consid
the phonetic contexts refers to a (complete) recalculation of          ered by construction as a domain or dialect dependent
the decision network and its corresponding phonetic con                refinement of the original phonetic contexts, which further
texts based on the general Speech recognizer decision net              may include, for HMMs associated with the leaf nodes of the
work. This is considerably different from just “selecting” a           re-estimated decision network, a re-adjustment of the HMM
Subset of the general Speech recognizer decision network               parameters (5).
and phonetic contexts or simply "enhancing the decision                  One important benefit from this approach lies in the fact
network by making a leaf node an interior node by attaching       15   that—as opposed to using the domain Specific adaptation
a new sub-tree with new leaf nodes and further phonetic                data in the original, State of the art (refer for instance to
COnteXtS.                                                              Section 4.1 above) decision network growing
   The following specification refers to FIG. 1. FIG. 1 is a           procedure-the present invention preserves the phonetic
diagram reflecting the Overall Structure of the proposed               context information of the (general purpose) speech recog
methodology of generating a speech recognizer being tai                nizer which is used as a starting point. Importantly, and in
lored to a specific domain and gives an overview of the basic          contrast to croSS domain modeling techniques as described
principle of the present invention. Accordingly, the descrip           by R. Singh et al. (refer to the discussion above), the method
tion in the remainder of this Section refers to the use of a           of the present invention Simultaneously allows the creation
decision network for the detection and representation of               of new phonetic contexts that need not be present in the
phonetic contexts and should be understood as but an              25   original training material. Rather than create a domain
illustration of one implementation of the present invention.           specific HMM inventory from scratch according to the state
The invention Suggests starting from a first Speech recog              of the art, which requires the collection of a huge amount of
nizer (1) (in most cases a speaker-independent, general                domain-specific training data, the present invention allows
purpose speech recognizer) and a small, i.e. limited, amount           the adaptation of the general recognizer's HMM inventory
of adaptation (training) data (2) to generate a second speech          to a new domain based on a Small amount of adaptation data.
recognizer (6) (adapted based on the training data (2)).                  AS the general Speech recognizer’s “elaborate' decision
   The training data (which is not required to be exhaustive           network with its rich, well-balanced equivalence classes and
of the specific domain) may be gathered either Supervised or           its context information is exploited as a Starting point, the
unsupervised, through the use of an arbitrary Speech recog             limited, i.e. Small, amount of adaptation (training) data
nizer that is not necessarily the same as Speech recognizer       35   Suffices to generate the adapted Speech recognizer. This
(1). After feature extraction, the data is aligned against the         Saves a Significant effort in collecting domain-specific train
transcription to obtain a phonetic label for each frame.               ing data. Moreover, a significant Speed-up in the adaptation
Importantly, while a Standard training procedure according             process and an important improvement in the recognition
to the State of the art as described above Starts the compu            quality of the generated adapted Speech recognizer is
tation of Significant phonetic contexts from a single equiva      40   achieved.
lence class that holds all data (a decision network with one             AS with the baseline recognizer, each terminal node of the
node only), the present invention proposes an upfront Step             adapted (i.e. generated) decision network defines a context
that Separates the additional data into the equivalence classes        dependent, single state Hidden Markov Model for the spe
provided by the Speaker independent, general purpose                   cialized speech recognizer. The computation of an initial
Speech recognizer. That is, the decision network and its          45   estimate for the State output probabilities (refer to eq. 4) has
corresponding phonetic contexts of the first Speech recog              to consider both the history of the context adaptation process
nizer are used as a starting point to generate a Second                and the acoustic feature vectors associated with each termi
decision network and its corresponding Second phonetic                 nal node of the adapted networks:
contexts for a Second Speech recognizer by re-estimating the              A. Phonetic contexts that are unchanged by the adaptation
first decision network and corresponding first phonetic con       50   process are modelled by the corresponding gaussian mixture
texts based on domain-specific training data.                          components of the base recognizer.
   Therefore, for that purpose, the phonetic contexts of the              B. Output probabilities for newly created context depen
existing decision network are first extracted as shown in Step         dent HMMs can be modelled either by applying the above
(31). The feature vectors and their associated phone context           mentioned adaptation methods to the Gaussians of the
can be passed through the original decision network (3) by        55   original recognizer, or—if a Sufficient number of feature
asking the phone questions that are Stored with each node of           vectorS has been passed to the new terminal node-by
the network to extract and to classify (32) the training data's        clustering of the adaptation data.
phonetic contexts. As a result, one obtains a partitioning of             Following the above mentioned teaching of V. Fischer et
the adaptation data that already utilizes the phonetic context         al., “Method and System for Generating Squeezed Acoustic
information of the much larger and more general training          60   Models for Specialized Speech Recognizer”, European
corpus of the base System.                                             patent application EP 991 16684.4, the adaptation data may
   Subsequently, the original Split-and-merge algorithm for            also be used for a pruning of Gaussians in order to reduce
the detection of relevant new domain specific phonetic                 memory footprints and CPU time. The teaching of this
contexts (4) can be applied resulting in a new, re-estimated           reference with respect to selecting a subset of HMM states
(domain specific) decision network and corresponding pho          65   of the general purpose speech recognizer for use as a starting
netic contexts. Phone questions and Splitting thresholds               point ("Squeezing”) and the teaching with respect to Select
(refer for instance to eq. 5) may depend on the domain                 ing a subset of probability-density-functions (PDFS) of the
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general purpose Speech recognizer for use as a Starting point            context adaptation: while the error rate for the digit recog
(“Pruning”), both of which are distinctive of the specific               nition task decreases by more than 50 percent, the adapted
domain, are incorporated herein by reference.                            recognizer Still shows a fairly good performance on the
  There are three additional important aspects of the present            general dictation task.
invention:                                                          5
   1. The application of the present invention is not limited            4.4 Further Advantages of the Present Invention
to the upfront adaptation of domain or dialect-specific                     The results presented in the previous Section demonstrate
Speech recognizers. Without any modification, the invention              that the invention described herein offers further significant
is also applicable in a Speaker adaptation Scenario where it             advantages in addition to those addressed already within the
can augment the Speaker dependent re-estimation of model                 above Specification. From the discussion of the above out
parameters. UnSupervised Speaker adaptation, which                       lined example, with respect to a general Speech recognizer
                                                                         adapted to Specific domain of a digit recognition task, it has
requires a Substantial amount of Speaker dependent data, is              been demonstrated that the present teaching is able to
an especially promising application Scenario.                            Significantly improve the recognition rate within a given
   2. The present invention further is not limited to the                target domain.
adaptation of phonetic contexts to a particular domain              15
                                                                           It has to be pointed out (as also made apparent by the
(taking place once), but may be used iteratively to enhance              above mentioned example) that the present invention at the
the general recognizer's phonetic contexts incrementally                 Same time avoids an unacceptable decrease of recognition
based upon further training data.                                        accuracy in the original recognizer's domain. AS the present
   3. If different languages share a common phonetic alpha               invention uses the existing decision network and acoustic
bet, the method also can be used for the incremental and data            contexts of a first Speech recognizer as a Starting point, very
driven incorporation of a new language into a true multi                 little additional domain specific or dialect data, which is
lingual Speech recognizer that shares HMMs between lan                   inexpensive and easy to collect, Suffices to generate a Second
guageS.                                                                  Speech recognizer. Also due to this chosen Starting point, the
4.3 Application Examples of the Present Invention                   25
                                                                         proposed adaptation techniques are capable of reducing the
   Facing the growing market of Speech enabled devices that              time for the training of the recognizer Significantly.
have to fulfill only a limited (application) task, the invention            Finally, the invention allows the generation of Specialized
disclosed herein provides an improved recognition accuracy               Speech recognizers requiring reduced computation
for a wide variety of applications. A first experiment focused           resources, for instance in terms of computing time and
on the adaptation of a fairly general Speech recognizer for a            memory footprints. Accordingly, the invention disclosed
digit dialing task, which is an important application in the             herein is thus Suited for the incremental and low cost
Strongly expanding mobile phone market.                                  integration of new application domains into any speech
   The following table reflects the relative word error rates            recognition application. It may be applied to general pur
for the baseline System (left), the digit domain specific                pose, Speaker independent Speech recognizers as well as to
recognizer (middle), and the domain adapted recognizer              35
                                                                         further adaptation of Speaker dependent speech recognizers.
(right) for a general dictation and a digit recognition task:            Still, the invention disclosed herein can be embodied in
                                                                         other specific forms without departing from the Spirit or
                                                                         essential attributes thereof. Accordingly, reference should be
                                                                         made to the following claims, rather than to the foregoing
                      baseline       digits        adapted          40
                                                                         Specification, as indicating the Scope of the invention.
      dictation         1OO          193.25         117.89                 What is claimed is:
      digits                          24.87          47.21                  1. A computerized method of automatically generating
                                                                         from a first Speech recognizer a Second Speech recognizer,
                                                                         Said first Speech recognizer comprising a first acoustic model
The baseline system (baseline, refer to the table above) was        45   with a first decision network and corresponding first pho
trained with 20,000 sentences gathered from different Ger                netic contexts, and Said Second Speech recognizer being
man newspaperS and office correspondence letters, and                    adapted to a Specific domain, Said method comprising:
uttered by approximately 200 German speakers. Thus, the                    based on Said first acoustic model, generating a Second
recognizer uses phonetic contexts from a mixture of differ                    acoustic model with a Second decision network and
ent domains, which is the usual method to achieve good              50        corresponding Second phonetic contexts for said Sec
phonetic coverage in the training of general purpose, large                   ond speech recognizer by re-estimating Said first deci
Vocabulary continuous Speech recognizers, Such as IBM's                       Sion network and Said corresponding first phonetic
ViaVoice. The domain specific digit data included approxi                     contexts based on domain-specific training data,
mately 10,000 training utterances that further included up to                 wherein Said first decision network and Said Second
12 spoken digits and was used for both the adaptation of the        55        decision network utilize a phonetic decision free to
general recognizer (adapted, refer to the table above) accord                 perform Speech recognition operations, wherein the
ing to the teaching of the present invention and the training                 number of nodes in the Second decision network is not
of a digit specific recognizer (digit, refer to the table above).              fixed by the number of nodes in the first decision
   The above table gives the (relative) word error rates                       network, and wherein Said re-estimating comprises
(normalized to the baseline System) for the baseline System,        60         partitioning Said training data using Said first decision
the adapted phone context recognizer, and the digit specific                   network of Said first speech recognizer.
system. While the baseline system shows the best perfor                     2. A computerized method of automatically generating
mance for the general large Vocabulary dictation task, it                from a first Speech recognizer a Second Speech recognizer,
yields the worst results for the digit task. In contrast, the            Said first Speech recognizer comprising a first acoustic model
digit Specific recognizer performs best on the digit task, but      65   wit a first decision network and corresponding first phonetic
shows unacceptable error rates for the general dictation task.           contexts, and Said Second Speech recognizer being adapted
The rightmost column demonstrates the benefits of the                    to a specific domain, Said method comprising:
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  based on Said first acoustic model, generating a Second                  14. A machine-readable Storage, having Stored thereon a
     acoustic model with a Second decision network and                  computer program having a plurality of code Sections
     corresponding Second phonetic contexts for said Sec                executable by a machine for causing the machine to auto
     ond speech recognizer by re-estimating Said first deci             matically generate from a first Speech recognizer a Second
     Sion network and Said corresponding first phonetic                 Speech recognizer, Said first Speech recognizer comprising a
     contexts based on domain-specific training data,                   first acoustic model with a first decision network and cor
     wherein Said first decision network and Said Second                responding first phonetic contexts, and Said Second speech
     decision network utilize a phonetic decision tree to               recognizer being adapted to a specific domain, Said
     perform Speech recognition operations, wherein the                 machine-readable Storage causing the machine to perform
     number of nodes in the Second decision network is not              the Steps of:
      fixed by the number of nodes in the first decision                  based on Said first acoustic model, generating a Second
      network, wherein Said domain-specific training data is                 acoustic model with a Second decision network and
      of a limited amount, and wherein the generating Step                   corresponding Second phonetic contexts for said Sec
      further comprises the Steps of                                         ond speech recognizer by re-estimating Said first deci
   identifying at least one acoustic context from the domain       15        Sion network and Said corresponding first phonetic
      Specific training data; and                                            contexts based on domain-specific training data,
   adding a node to the Second decision network for the                      wherein Said first decision network and Said Second
      identified context independent of other generating Step                decision network utilize a phonetic decision tree to
      operations.                                                            perform Speech recognition operations, wherein the
   3. The method of claim 1, Said partitioning Stop compris                  number of nodes in the Second decision network is not
ing:                                                                         fixed by the number of nodes in the first decision
   passing feature vectors of Said training data through said                network, and wherein Said re-estimating comprises
      first decision network and extracting and classifying                  partitioning Said training data using Said first decision
      phonetic contexts of Said training data.                               network of Said first speech recognizer.
   4. The method of claim 3, said re-estimating further            25      15. A machine-readable Storage, having Stored thereon a
comprising:                                                             computer program having a plurality of code Sections
   detecting domain-specific phonetic contexts by executing             executable by a machine for causing the machine to auto
      a split-and-merge methodology based on Said parti                 matically generate from a first Speech recognizer a Second
      tioned training data for re-estimating Said first decision        Speech recognizer, Said first Speech recognizer comprising a
      network and Said first phonetic contexts.                         first acoustic model with a first decision network and cor
   5. The method of claim 4, wherein control parameters of              responding first phonetic contexts, and Said Second speech
Said split-and-merge methodology are chosen specific to                 recognizer being adapted to a specific domain, Said
Said domain.                                                            machine-readable Storage causing the machine to perform
  6. The method of claim 4, wherein for Hidden-Markov                   the Steps of:
Models (HMMs) associated with leaf nodes of said second            35     based on Said first acoustic model, generating a Second
decision network, Said re-estimating compriseS re-adjusting                  acoustic model with a Second decision network and
HMM parameters corresponding to said HMMs.                                   corresponding Second phonetic contexts for said Sec
  7. The method of claim 6, wherein said HMMs comprise                       ond speech recognizer by re-estimating Said first deci
a Set of States and a set of probability-density-functions                   Sion network and Said corresponding first phonetic
(PDFS) assembling output probabilities for an observation          40        contexts based on domain-specific training data,
of a Speech frame in Said States, and wherein Said re                        wherein Said first decision network and Said Second
adjusting Step is preceded by:                                               decision network utilize a phonetic decision tree to
  Selecting from Said States a Subset of States being distinc                perform Speech recognition operations, wherein the
     tive of Said domain; and                                                number of nodes in the Second decision network is not
  selecting from said set of PDFS a subset of PDFS being           45         fixed by the number of nodes in the first decision
     distinctive of Said domain.                                              network, wherein Said domain-specific training data is
  8. The method of claim 6, wherein said method is                            of a limited amount, and wherein the generating Step
executed iteratively for additional training data.                            further comprises the Steps of:
  9. The method of claim 7, wherein said method is                         identifying at least one acoustic context from the domain
executed iteratively for additional training data.                 50         Specific training data; and
  10. The method of claim 6, wherein said first speech                     adding a node to the Second decision network for the
recognizer is a general purpose Speech recognizer, and                        identified context independent of other generating Step
wherein the Second speech recognizer is a Speaker indepen                     operations.
dent Speech recognizer.                                                    16. The machine-readable Storage of claim 14, Said par
  11. The method of claim 6, wherein said first and said           55   titioning Step comprising:
Second speech recognizers are speaker-dependent speech                     passing feature vectors of Said training data through Said
recognizers and Said training data is additional Speaker                      first decision network and extracting and classifying
dependent training data.                                                      phonetic contexts of Said training data.
   12. The method of claim 6, wherein said first speech                    17. The machine-readable storage of claim 16, said re
recognizer is a Speech recognizer of at least a first language     60   estimating further comprising:
and Said domain Specific training data relates to a Second                 detecting domain-specific phonetic contexts by executing
language and Said Second Speech recognizer is a multi                         a split-and-merge methodology based on Said parti
lingual Speech recognizer of Said Second language and Said                    tioned training data for re-estimating Said first decision
at least first language.                                                      network and Said first phonetic contexts.
  13. The method of claim 1, wherein said domain is                65      18. The machine-readable storage of claim 17, wherein
Selected from the group consisting of a language, a Set of              control parameters of Said Split-and-merge methodology are
languages, a dialect, a task area, and a Set of task areas.             chosen Specific to Said domain.
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  19. The machine-readable storage of claim 17, wherein                to a Second language and Said Second Speech recognizer is
for Hidden-Markov-Models (HMMs) associated with leaf                   a multi-lingual Speech recognizer of Said Second language
nodes of Said Second decision network, Said re-estimating              and Said at least first language.
comprises re-adjusting HMM parameters corresponding to                    26. The machine-readable storage of claim 14, wherein
said HMMs.                                                             Said domain is Selected from the group consisting of a
  20. The machine-readable storage of claim 19, wherein                language, a Set of languages, a dialect, a task area, and a Set
said HMMs comprise a set of states and a set of probability            of task areas.
density-functions PDFS) assembling output probabilities for              27. A computerized method of generating a Second Speech
an observation of a Speech frame in Said States, and wherein           recognizer comprising the Steps of:
Said re-adjusting Step is preceded by:                                   identifying a first Speech recognizer of a first domain
   Selecting from Said States a Subset of States being distinc              comprising a first acoustic model with a first decision
        tive of Said domain; and                                            network and corresponding first phonetic contexts,
  selecting from said set of PDFS a subset of PDFS being                 receiving domain-specific training data of a Second
        distinctive of Said domain.                                         domain; and
  21. The machine-readable storage of claim 19, wherein           15     based on the first Speech recognizer and the domain
Said method is executed iteratively for additional training                Specific training data, generating a Second acoustic
data.                                                                       model of Said first domain and Said Second domain
  22. The machine-readable storage of claim 20, wherein                      comprising a Second acoustic model with a Second
Said method is executed iteratively for additional training                  decision network and corresponding Second phonetic
data.                                                                        contexts, wherein the first domain comprises at least a
   23. The machine-readable storage of claim 19, wherein                     first language, wherein the Second domain comprises at
Said first Speech recognizer is a general purpose speech                     least a Second language, and wherein the Second Speech
recognizer, and wherein the Second Speech recognizer is a                    recognizer is a multi-lingual Speech recognizer.
Speaker independent speech recognizer.                                    28. The computerized method of claim 27, wherein the
   24. The machine-readable storage of claim 19, wherein          25   first domain is a general purpose domain, and wherein the
Said first and Said Second Speech recognizers are speaker              Second domain comprises at least one dialect.
dependent speech recognizers and Said training data is                    29. The computerized method of claim 27, wherein the
additional Speaker-dependent training data.                            first domain is a general purpose domain, and wherein the
   25. The machine-readable storage of claim 19, wherein               Second domain comprises at least one task area.
Said first Speech recognizer is a speech recognizer of at least
a first language and Said domain Specific training data relates                               k   k   k   k   k
